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Case 2:10-cv-00198-JLR Document 266 Filed 09/17/12 Page 1 of 20

THE HONORABLE JAMES L. ROBART

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UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF WASHINGTON

MARK A. ARTHUR, CIRILO MARTINEZ,
PARI NAJAFI, and HEATHER MCCUE, on
behalf of themselves and all others similarly
situated,
Plaintiffs,
v.

SALLIE MAE, INC.,

Defendant.

 

JUDITH HARPER,
Plaintiff/Intervenor,
Vv.
ARROW FINANCIAL SERVICES, LLC,
Defendant,

 

 

CLASS ACTION
NO. 10-cv-00198-JLR.

   

PROPQSER} SETTLEMENT ORDER
AND FINAL JUDGMENT

  

(Clerk’s Action Required)

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[PROPOSED] SETTLEMENT ORDER AND FINAL
JUDGMENT

NO. 10-cv-00198-JLR

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THIS MATTER came before the Court for final approval of the proposed amended class
settlement. The Court has considered all papers filed and proceedings in this matter and held a
hearing on September 14, 2012, at which time the parties and all other interested persons were
afforded the opportunity to be heard in support of and in opposition to the proposed Amended
Settlement. Based on the papers filed with the Court and presentations made to the Court at the
hearing, it is hereby ORDERED, ADJUDGED, AND DECREED as follows:

1, The definitions and provisions of the Amended Settlement Agreement (“Amended
Agreement”) are hereby incorporated as though fully set forth herein. For purposes of this
Settlement Order and Final Judgment, all capitalized terms used hereafter shall have the meaning
ascribed to them in the Amended Agreement, unless otherwise noted,

2. The Court has jurisdiction over the subj ect matter of the Amended Agreement with
respect to and over all parties to the Aniended Agreement, including all Settlement Class
Members.

3, The Court hereby approves the Amended Settlement, including the plans for
implementation and distribution of the settlement relief, and finds that the Amended Settlement
is, in all respects, fair, reasonable and adequate to the Settlement Class Members, within the
authority of the parties and the result of extensive arm’s length negotiations.

4, The Court has considered and balanced: (1) the strength of the plaintiffs’ case; (2)
the risk, expense, complexity, and likely duration of further litigation; (3) the risk of maintaining
class action status throughout the trial; (4) the amount offered in settlement; (5) the extent of
discovery completed and the stage of the proceedings; (6) the experience and views of counsel;
(7) the presence of a governmental participant; and (8) the reaction of class members to the
proposed settlement. Churchill Village LLC v. General Electric, 361 F.3d 566, 575 (9th Cir.
2004). As an initial matter, there is no evidence before the Court of fraud or collusion underlying

the settlement. The settlement was achieved after extensive arm’s length negotiations and

 

 

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multiple in-person mediations before Judge Infante. Additionally, the relevant Churchill factors
weigh in favor of approving the Amended Settlement. The parties are well-informed about the
strengths and weaknesses of each others’ claims and defenses, and Plaintiffs recognize that there
is significant risk in continuing with the litigation, in part because of the novelty of central issues.
Continued litigation undoubtedly would have involved additional discovery and motions practice,
trial, the related expenses for all parties, and an appeal on the part of Sallie Mae if it lost at trial.
Courts have split on class certification in TCPA cases, increasing the risk of maintaining the class
action through trial. The amount of the Fund is the largest TCPA recovery to Class Counsel’s
knowledge, and Class Members who timely submitted claim forms will receive over $100 each.
The Parties have conducted formal and informal discovery and a thorough evaluation of
Plaintiffs’ legal claims. Class Counsel are experienced in class litigation and view the Amended
Settlement as fair, reasonable, and adequate. The response to the Amended Settlement has been
generally positive and only a tiny fraction of the Class objected or opted-out.

5. The Court has considered all objections to the Settlement and Amended
Settlement, including the Objections of Thomas L. Cox Jr., filed on behalf of Class members Sara
Sibley and Judith Brown on December 13, 2010, and July 19, 2012; the Objection of Franklin L.
Dejulius, filed on December 13, 2010; the Objection of Paula Newman, filed on December 13,
2010; the Objection of Maureen R. Smith, filed on December 13, 2010; the Objection of Donna
Judkins, filed on October 29, 2010; the Objection of Melissa Felt, filed on October 28, 2010; the
Objection of Julia Nuth, filed on November 29, 2010; the Objection of Mohieldin M. Suliman,
filed on November 2, 2010; the Objection of James William Harrison, filed on December 7, 2010;
the Objection of Veronica Best dated October 8, 2010; the Objection of Leonyer Marie
Richardson, dated October 20, 2010; the Objections of Patrick Sweeney and Sasha McBeam,
filed on December 13, 2010; the Objection of Carlos Sherrod, dated October 8, 2010; the
Objection of Gabriela Heath, filed on December 14, 2010; the Objection of Kevin Porter, filed on

 

 

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April 28, 2011; the Objection of Azikiwe Daniels, filed on April 29, 2011; the Objection of
Walter Price, filed on May 4, 2011; the Objection of Nicolasa Velez, filed on July 9, 2012; the
Objection of Christopher Hutchins, filed on July 9, 2012; the Objection of Brian Morgan, filed on
July 5, 2012; the Objection of Rebecca Ann Keiser, filed on October 29, 2010; the Objection of
Daniel Palos, filed on June 27, 2012; the Objection of Brenda Gordon, filed on July 5, 2012; and
the Objections filed by attorney Donald A. Yarbrough on December 16, 2010, and July 9, 2012,
on behalf of Joseph Fostano, Khalilah Mendez, Mauva Thompson, Nicole Berg, James Fiano,
Lawrence Sclafani, Kenyatta Thomas, Lysenia Muir, and Adalys Ayarsa. After careful
consideration, the Court finds that these objections are meritless and they are hereby overruled.

6. Pursuant to Federal Rule of Civil Procedure 23(c), the Court certifies, for

settlement purposes only, the following Amended Settlement Class:

All persons. to whom, on or after October 27, 2005 and through September 14,
2010, Sallie Mae, Inc. or any other affiliate or subsidiary of SLM Corporation
placed a non-emergency telephone Call to a cellular telephone through the use of
an automated dialing system and/or an artificial or prerecorded voice. Excluded
from the Amended Settlement Class are SLM Corporation, Sallie Mae, Inc. and
any other affiliate or subsidiary of SLM Corporation, and any entities in which
any such companies has a controlling interest, the Judge to whom the Action is
assigned and any member of the Judge’s staff and immediate family, as well as all
persons who validly request exclusion from the Settlement Class.

7. This Settlement Order and Final Judgment does not constitute an expression by the
Court of any opinion, position or determination as to the merit or lack of merit of any of the
claims or defenses of Plaintiffs, the Settlement Class Members or Defendant Sallie Mae, Inc.
Neither the Amended Agreement, nor any act performed or document executed pursuant to or in
furtherance of the Amended Settlement: (a) is or may be deemed to be or may be used as an
admission of, or evidence of, the validity of any Released Claim, or of any wrongdoing or
liability of the Released Parties; (b) is or may be deemed to be or may be used as an admission of,
or evidence of, any fault or omission of the Released Parties in any civil, criminal or

administrative proceeding in any court, administrative agency or other tribunal; or (c) is or may

 

 

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be deemed to be a waiver of Sallie Mae’s right to seek to enforce any arbitration provision in
other cases or against persons in the Settlement Class who opt out of the Amended Settlement. In
addition, neither the fact of, nor any documents relating to, Sallie Mae’s withdrawal from the
Amended Settlement, any failure of the Court to approve the Amended Settlement and/or any
objections or interventions may be used as evidence for any purpose whatsoever. The Released
Parties may file the Amended Agreement and/or this Judgment in any action or proceeding that
may be brought against them in order to support a defense or counterclaim based on principles of
res judicata, collateral estoppel, release, good faith settlement, judgment bar or reduction or any
other theory of claim preclusion or issue preclusion or similar defense or counterclaim.

8. This Court hereby dismisses this action with prejudice as to all Settlement Class
Members except those who have timely and properly excluded themselves from the Settlement
Class. Exhibit A, attached hereto, sets forth the names of those individuals who have timely and
properly excluded themselves from the Settlement Class.

9, Upon the date this Judgment becomes final, Plaintiffs and each Settlement Class
Member, their respective heirs, executors, administrators, representatives, agents, attorneys,
partners, successors, predecessors-in-interest and assigns will be deemed to have fully released
and forever discharged Sallie Mae, Inc., its parent company SLM Corporation, and each and all of
their respective present, former and future direct and indirect parent companies, affiliates,
subsidiaries, agenis, successors, and predecessors-in-interest (including Asset Performance
Group, LLC; General Revenue Corporation; Pioneer Credit Recovery, Inc.; Sallie Mae, Inc.;
SLM DE Corporation; SLM Financial Corporation; Student Assistance Corporation; Academic
Management Services Corp.; Academic Management Services, Inc.; AFS US, Inc.; AFS-HOV
LLC; AMS Education Loan Trust; Arrow Financial Services, LLC; Arrow Financial
International, LLC; Arrow Global, LLC; Asset Performance Group, Inc.; GRP/AG Holdings,
LLC; GRP Financial Services Corp.; Nellie Mae Corporation; Nellie Mae Holding LLC; Noel-

 

 

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Levitz, Inc.; Pioneer Mortgage Inc.; Sallie Mae Bank; Sallie Mae — Canada Financial
Corporation; Sallie Mae Education Trust; Sallie Mae Home Loans, Inc.; SLM Corporation; SLM
Education Credit Finance Corporation; SLM Education Loan Corp.; SLM Mortgage Corporation;
Southwest Student Services Corporation; Student Loan Finance Association, Inc.; Student Loan
Funding Resources LLC; TrueCareers, Inc.; Upromise, Inc.; Upromise Investments, Inc.; and
USA Group Loan Services, LLC) and all of the aforementioneds’ prior, current and future
respective officers, directors, employees, attorneys, shareholders, agents, independent contractors,
vendors, and assigns (the “Released Parties”) from any and all rights, duties, obligations, claims,
actions, causes of action or liabilities, whether arising under local, state or federal law, whether by
Constitution, statute, contract, rule, regulation, any regulatory promulgation (including, but not
limited to, any opinion or declaratory ruling), common law or equity, whether known or
unknown, suspected or unsuspected, asserted or unasserted, foreseen or unforeseen, actual or
contingent, liquidated or unliquidated, punitive or compensatory as of the date of the Final
Approval Order: (a) that arise out of or are related in any way to the use of an “automatic
telephone dialing system” or an “artificial or prerecorded voice” to contact a cellular telephone
(to the fullest extent that those terms are used, defined or interpreted by the Telephone Consumer
Protection Act, 47 U.S.C. § 227, ef seg., relevant regulatory or administrative promulgations and
case law) used by any of the Released Parties in connection with efforts to contact or attempt to
contact Settlement Class Members including, but not limited to, claims under or for violations of
the Telephone Consumer Protection Act, 47 U.S.C. § 227, et seqg., Washington’s Automatic
Dialing and Announcing Device statute, Wash. Rev. Code § 80.36.400, ef seg. and any other
statutory or common law claim arising from the use of automatic telephone dialing systems or an
artificial or prerecorded voice, including any claim under or for violation of federal or state unfair
and deceptive practices statutes, violations of any federal or state debt collection practices acts

(including but not limited to, the Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et seg.),

 

 

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invasion of privacy, conversion, breach of contract, unjust enrichment, specific performance
and/or promissory estoppel; or (b) that arise out of or relate in any way to the administration of
the Amended Settlement.

1 0. Without limiting the foregoing, the Released Claims specifically extend to clatms
that Settlement Class Members do not know or suspect to exist in their favor at the time that the
Amended Settlement, and the releases contained therein, becomes effective. The Court finds that
Plaintiffs have, and the Settlement Class Members are deemed to have, knowingly waived
California Civil Code section 1542 and any other applicable federal or state statute, case law, rule
or regulation relating to limitations on releases.

11. = In aid to this Court’s jurisdiction to implement and enforce the Amended
Settlement, Plaintiffs and all Settlement Class Members and all persons purporting to act on
behalf of Settlement Class Members are enjoined, directly, on a representative basis or in any
other capacity, from asserting, commencing, prosecuting or continuing any of the Released
Claims against Sallie Mae or any of the other Released Parties in any action, arbitration or
proceeding in any court, arbitral forum or tribunal. .

12. The Court finds that the program of Class Notice set forth in the Amended
Agreement and preliminarily approved by the Court was the best practicable notice under the
circumstances. The Class Notice provided due and adequate notice of these proceedings and of
the matters set forth therein, including the Amended Agreement, to all parties entitled to such
notice and satisfied the requirements of Federal Rule of Civil Procedure 23, the requirements of
constitutional due process, and the requirements set forth in In re Mercury Interactive Corp. Sec.
Litig., 618 F.3d 988, 994 (9th Cir. 2010).

13. Without affecting the finality of this Settlement Order and Final Judgment in any
way, the Court retains continuing jurisdiction over: (a) implementation of the Amended

Agreement and distribution of the settlement relief contemplated by the Amended Agreement,

 

 

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until all acts agreed to be performed pursuant to the Agreement have been performed; and (b) all
parties to this action and Settlement Class Members for the purpose of enforcing and
administering the Amended Agreement.

14. Neither this Settlement Order and Final Judgment nor the Amended Agreement
constitutes an admission or concession by any of the Released Parties of any fault, omission,
liability or wrongdoing. This Settlement Order and Final Judgment is not a finding of the validity
or invalidity of any claims in this action or a determination of any wrongdoing by the defendant.
The final approval of the Amended Agreement does not constitute any opinion, position or
determination of this Court, one way or the other, as to the merits of the claims and defenses of
Plaintiffs, Sallie Mae or the Settlement Class Members.

15. In the event that the Amended Agreement does not become effective in accordance
with its terms, then this Settlement Order and Final Judgment shall be vacated, the Settlement
Class shall be decertified and the Amended Agreement and all orders entered in connection

therewith shall become null and void and of no further force and effect.

IT IS SO ORDERED.

Dated this |" i day of September, 2012.

CV 6 0%

UNITED my ES DISTRICT JUDGE

Presented by:

TERRELL MARSHALL DAUDT & WILLIE PLLC

By: _/s/ Beth E. Terrell, WSBA #26759
Beth E. Terrell, WSBA #26759
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[PROPOSED] SETTLEMENT ORDER AND FINAL.
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EXHIBIT A

 

 
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Arthur, et al. v. Sallie Mae, Inc. - Exclusion Requests Receive

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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4 1498 KENNETH € LAFLEUR FARMINGTON MI
5 1500 JUSTINE KIM MONTROSE CA
6 1501 CHRISTINE KIM MONTROSE CA
7 1502 JUNG LEE MONTROSE CA
8 1542 MARIO YARLEQUE ~ |BELLEVILLE NJ
9 1543 LARRY M MILLER SOUTH JORDAN UT
10 1544 BRANDON D TAYLOR FRANKLIN GA
11 1545 DANIEL FERNANDEZ LAS CRUCES NM
12 1546 STELLA VAUGHN VERSAILLES KY
13 1547 ARNOLD WATSON NORTH HOLLYWOOD CA
14 9051 LANCE PARMER MIDDLETOWN OH
15 12098 RICHARD A MARTIN KINSTON AL
16 12577 SHUSHI VANG GREENSBORO NC
17 13102 ROBERT D, FLOYD FORT LAUDERDALE FL
18 1926955 |CARRIE REDDING CANTON TX
19 1032076 |NICK COLLINS PHOENIX AZ
20 1064308 |JMIA ROJO (DIAZ) OKLAHOMA CITY OK
21 1083262 |ADELAIDA SALINAS EDINBURG TX
22 1126387 |DORIS TATE TUSCALOOSA AL
a3 1244933 JLIVIDA DAMIRON BRONX NY
24 1252912 |MIRIAM RODRIGUEZ POMPANO BEACH FL
25 1258755 |ERIN VEGA HAMBURG NY
26 1294802 = |VIOLA LOWE CAPE MAY NJ
27 1300042 =|CLARA BOOTS ELLWOOD CITY PA
28 1302482  |DONNA MURPHY FALLS CHURCH VA
29 1345623 |DEJERRIS K WEAVER ATLANTA GA
30 1438301 |MARYLOU PARLATO DETROIT MI
34 1441338 —|KENNETH LAFLEUR YPSILANTI MI
32 1449060 jJOSEPH H SPANSKI EASTPOINTE MI
33 1454663 |KENNETH DIXON CROSSVILLE TN
34 1466734  |REDA TALEB DEARBORN MI
35 1507501 = ||SIAH JOHNSON GREENEVILLE TN
36 1543485 |CAROLLBRAMANDE DANIELSON CT
37 1558399 [BENJAMIN M PATNO HINESBURG VT
38 1565575 |JODIE B HUMPHREY SEEKONK MA
39 1568512 |LEONARD E PAOLETTI WOODSTOCK VA
40 1575265 |SUSAN HEWETT ENCINITAS CA
41 1593638 {ANN M SWEENEY ROCKPORT MA
A2 1598509 |KERRI ANNE BOWERS. THONON-LES-BAINS
43 1625163 |JACOB D KRIEGER NORTHBOGROUGH MA
44 1645729 = |JULIEE BROWN FAIRPORT NY
45 1647999 |RUTH AHOBBS PLAISTOW NH
46 1654625 |TERRIE LOUD GLENDALE CA
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Arthur, et al. v. Sallie Mae, Inc. - Exclusion Requests Received

    

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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48 1698547 |ELIZABETH W JOHNSON SANTA FE NM
49 1705538 |MELODY C COCHRAN NORWALK CT

50 1735963 = |ROCHELLE LLAUZON BALTIMORE MD
51 1747964 —|SUSAN J DEAN OCALA FL

52 1748623 |PAULA] AVERY MARION NY
53 1785599 =|ROBERT A BOWMAN SAN DIEGO CA
54 1798723 —|MILAGROS A FERNANDEZ NEW YORK NY
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56 1815490 = |ALLISON H KRAUS WOODSIDE NY
57 1844123 JUDITH CJONES ELLENWOOD GA
58 1853442 |SHERIE HOBBS QUEENS VILLAGE NY
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60 1874674 |BRIDGET C DEZINNO HACKETTSTOWN NJ

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62 1898916 = |TAMARAH J LAMOUR MATTAPAN MA
63 1943681  |JENICA MARTIN EAST ORANGE NJ

64 1945292 {MICHAEL GUIDO CLIFTON PARK NY
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56 1967823  |LEONARDO A CUETO COOPER CITY FL

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74 2160919 |AMYL PIERCE E PETERSBURG PA
75 2209052 |CHERYLEL DIGGS MINERAL VA
76 2242867 |ERIN C QUAY ARLINGTON VA
t7 2255673 |ROBERT CEBULKO KINGSTON PA
78 2267865 = |KEVIN J NELSON NEWVILLE PA
79 2272397 = |MATTHEW LAZIN WINTER SPRING FL

80 2279225  |DOMINIQUE E GRAY ALTOONA PA
81 2294290  |NICHOLAS A ROUNDTREE LUTHVLE TIMON MD
82 2366130 {AARON T FLETCHER GEORGETOWN DE
83 2395438 | KATHERINE W STRUM ASHLAND OR
84 2444661  |KENDRAL ROTUNDO STEPHENS CITY VA
85 2491143 |PAMELA CLEMONS SHELBY NC
86 2543118 = |RENITA M WILLIAMS NEWPORT NEWS VA
8? 2554258 —|ANNE FISHER SAVANAH GA
88 2560432 JOHNCTOLLA BEVERLY MA
89 2569301 | TIFFANY N SHIPPY SPARTANBURG SC
90 2592807 |KACY C KOSSUM HOUSTON T™
91 2611497 |TOBIAS MEURY SMYRNA GA
92 2630252 | MITCHELL L PACE FORT DRUM NY

 

 

 

 

 

 

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93 2664391  |LAUREN A BEGNAUD ATLANTA

94. 2715397 —|ROBERT SCHEINBAUM MONTCLAIR NJ

95 2730040 | DWAYNE A JOHNSON GENEVA FL

96 2752737 = |GINGER WADE PORT ST LUCIE FL

97 2762810 |MARCUSD MIMS HOLLYWOOD FL

98 2765731 =|MARIOJ GARCIA LOMBARD IL

99 2765794 JEANNE BEURRIER HERNANDO FL

100 2772835  |SHERYL L GANN BIG TIMBER MT
101 2784371  |BONNIE L COE NEWARK OH
102 2802645 [JOHN J COLLINS OTTAWA QOH
103 2810754 = |KATHALEEN A HITTLE LIMA OH
104 2824253 |KYLEJ GILLMAN CLEAR LAKE lA

105 2879678 —|JEFFREY LSMITH ZIONSVILLE IN

106 2932724 —|VIRGINIA C ROBINSON HILLIARD OH
107 2937063 | LINDSAY M CAVAGNARO MIDDLETOWN OH
108 2987005 = |KAREN SHACKLE ELKHART IN

109 3044050  |DANIEL E BRUBAKER SOUTH WHITLEY IN

110 3058749  |ALLEN D BUCK EVANSVILLE IN

111 3068077 [MARY K WHITAKER GREENWOOD IN

112 3069290 =|TOMICA M HACKNEY INDIANAPOLIS IN

113 3085013 {LAURA L DREYER SCHMIDTBERG FT WAYNE IN

114 3113119  |REBECKA E ODEN RICHMOND VA
iis 3125069 |ROSELAND K PHERSON LODI WI
116 3130298 |BRIAN HOFFMAN CLEVES OH
117 3139093 |SONJA N SHAFFER TERRE HAUTE IN

118 3145961 [CRYSTAL L COOPER GALESBURG IL

119 3175829 | ESSIE M JONES INDIANAPOLIS IN

120 3196213 |MALCOLM J EDMOND CRAWFORD MS
121 3228392  |SOLOMON JONES PHILADELPHIA PA
122 3239925 |GAILM CICHANOWSKI AUSTIN TX
123 3269137 |MARSHAWN D BOOKER CHICAGO IL

124 3277620 |KIMS KONKLE SUMNER TX
125 3277690 |AARON GREEN CHICAGO IL

126 3297157 —|HENRY KURTZ ZIONSVILLE IN
127 3306213 = |JEFFREY ALAN BLENNER HANOVER PARK IL

128 3318683 [JACQUELINE E CEPHAS PINEVILLE LA
129 3364845 |SAMANTHAJ CARDIN PORTAGE IN
130 3435493 JARROD A BARRON PERRY MI
131 3494170 = | MATTHEW B KENZIE CLAY MI
132 3506821 = | TYLIER D SHAW REDFORD MI
133 3508815 = {WILLIAM L WALES YPSILANTI MI
134 3512774 = |JAMIEL PRATT PHOENIX AZ
135 3579533 |BARRY A STEWART DETROIT MI
136 3580262 |KAMILS HAII EAST LANSING MI
137 3587781 —|ANGEL F JACKLYN WHITE LAKE MI
138 3589885 | PATRICIA A SOLNER MC LEAN VA

 

 

 

 

 

 

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139 3613283 =| KATHLEEN KUEHL SURPRISE AZ
140 3628740 |DAVID J JAWORSKI SAN ANTONIO TX
141 3644854 = |LISAM WILSON LOS ANGELES CA
142 3703204 KEVIN A RUTHERFORD MEMPHIS TN
143 3715757 {PATRICIA A AUSTIN CROSSVILLE TN
144 3721070 |AMBER N REEVES SPRINGFIELD TN
145 3802371 |BARBARA ANNE GIBSON SHAKER HTS OH
146 3815707 —|CHRISTALLE D BODIFORD OCEANSIDE CA
147 3823487 = |WESLEY L PHILLIPS GARDENDALE AL
148 3830126  |KATRINA M FINLEY COKER AL
149 3876761 |LEROY JAMES JACKSON MSs
150 3912482 |REBECCA A NICHOLS MILWAUKEE WI
151 3914877 |MATTHEW PERSON COCONUT GROVE FL
152 3962557 |DENISEM MASON EL CAJON CA
153 3972943  |KESHIAA CAIN BRIDGE CITY LA
154 4001316  |LASHARN L DWELLINGHAM OCEAN SPRINGS MS
155 4057134 |RACHAEL L GREENSTEIN TAMPA FL
156 4092275 |ASHLEY N CASTLE MORROW LA
157 4122896 |NANCY C CARRUTH SOLANA BEACH CA
158 4144261 )JOHNNIE S CAMPBELL EDMOND OK
159 4164606 sAMY D WOODWORTH MINCO OK
160 4231815  |ELIZABETH A CRING CUMBERLAND VA
161 4232130 |ROSA A KEINER STRAWN TX
162 4250596 | KINGSLEY OGBOGU ALLEN TX
163 4264997 |ENEDINA SANDOVAL HOUSTON TX
164 4268200  |ELESTER R DUSHANE GILBERT AZ
165 4277351  |JOEL RODRIGUEZ ARLINGTON TX
166 4279542 —|CHRISTOPHER L FLUTSCH SWEETWATER TX |
167 4296481 |MATTHEW MURPHY SAN ANTONIO TX
168 4298015 |CANDACE R MEEKS CUMBERLAND VA
169 4298261 |RONALD HUNT UDALL KS
170 4305178  |SHERRY L HUCKABEE PLANO TX
171 4312554 |DANIEL T BILODEAU FLAGSTAFF AZ
172 4322726  (DEWHITTEH DAVIS DALLAS TX
173 4332036 |ATILLA BABACAN POMPANO BEACH FL
174 4343527 |ELIZABETH M ANDERSON BAYTOWN TX
175 4343579  |ELIZABETH BRAKEMAN HUFFMAN TX
176 4359686  |LISA K WEEKLY MARSHALL TX
177 4359926  |TAMMY YVET BYERS CANYON T™
178 4378957  |MELISSA SOTO LEWISVILLE TX
179 4411796  |MARIA V DELEON FORT WORTH TX
180 4430981 {RAQUEL VILLARREAL HOUSTON TX
181 44409513 |ASHLEY U TAYLOR TYLER TX
182 4455122 |JORDAN L HAWKINS BRAZORIA TX
183 4456534  |BLAKE T STEWART LAKE DALLAS TX
184 4474776  |MICHAELS SIMONES COTTAGE GROVE MIN
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185 4511377  |LEAH M WHELAN SIOUX FALLS SD

186 4514269  |KEVIN HUGEN WDM lA

187 4529009 |JAMES M BRINGENBERG OVERLAND PARK KS

188 4532814 |REBEKA ALOPEZ ANAHEIM CA
189 4549704  }TAMMIS FULLER FAIRBURN GA
190 4550355 |DUSTY A BRITTINGHAM BUTLER MO
1974 4555652 |ROBERT A KRESLEY JR IDAHO SPRINGS CO
192 4560056 |KENNETH H BAER FESTUS MO
193 4573728 |KATHRYN A MORROW SEVERN MD
194 4600601 {DAWN M MCCOY SAINT LOUIS MO
195 4601866 |COTI GOODEN NEOSHG MO
196 4607602 |SUSAN DEUTSCH NORWOOD MO
197 4623500 |MICHAELS GLASSMYER HASTINGS NE

198 4626591  |SANDI L GRAPE OMAHA NE

199 4634033  |DANIEL SHESTAK LINCOLN NE
200 4676920 |HEATHER BELLAMY FORT WORTH TX

201 4681240 —=|MEGAN FULLER NORTHGLENN co
202 4685530  |KASEY M KING OPOLIS KS

203 4695739 {ROBERT Y YBARRA II BILLINGS MT
204 4762056 |MARIAJ MARTIN YAKIMA WA
205 4766628 |ROBINA ARMSTRONG GLENDALE AZ

206 4800951 |DEANNAJ BODEY MASON AZ
207 4813091 |ZENAL OLSEN ALBUQUERQUE NM
208 4813681 |CORY SWENSON ALCOVA WY
209 4819519 = |JERRY CHARLES FARMINGTON NM
210 4845046 |LACEY CKERN EVERETT WA
211 4913070  |JESSEJ GLENN PROVO UT
212 4918847 |KURTM RUMMELL SEASIDE OR
213 4925799 = |ANNE M ONEAL PORTLAND OR
214 4986396 {CHRISTY A MURILLO ANTIOCH CA
215 5024054 |DEBORAH PERL VANCOUVER WA
216 5025831 [RICHARD V HIGHLEYMAN DANA POINT CA
217 5135377  |RODNEY K DEL GRANDE EUREKA CA
218 5137345 {LINDA K DEVINE FORT LAUDERDALE FL

219 5147540 = | WILLIAM L GRANT CLAYTON CA
220 5160485  |NICOLETTE J DEL MURO BROOKLYN NY
221 5169613 |LATONJAA M AUSTIN HENDERSON NV
222 5177023  |YEVETTE SEEGER MORENO VALLEY CA
223 5178696  |ALEXANDRA PAULEY RIVERSIDE CA
224 5182945 [KIMBERLY A CERR ALAMG CA
225 5196223 JESSICA TOLEDO LOS ANGELES CA
226 5198488 |MARK G WILSON WAILUKU HI

227 5209230  |IKAREN D BROWN VALLEJO CA
228 5268186 —|MILTON COX TEMPLE HILLS MD
229 5283400 |TINACJONES SILVER SPRING MD
230 5293403 |NORA MORALES SAN JUAN PR

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231 5303059 |REYES MERCEDES PHILADELPHIA PA
232 5329192 {JULIO FERRER OAK PARK CA
233 3330096  |JEANNE M DARCHER PORTLAND OR
234 5337190  |SHARON L NELSON TUERAS NM
235 5380892 |DAVID GOMEZ MIAMI! FL
236 5396760 |BRAXTON HERRING HIALEAH FL
237 5405147  |TANYA A BARAN CAPE CORAL FL
238 5424349 {LUISE CUETO COOPER CITY FL
239 5456607 |SALAM ABDO ST AUGUSTINE FL
240 5520988 —|DANIEL R ARROYO NORTH PORT FL
2441 5596144 | WARREN C PLUNK OKLAHOMA CITY OK
242 5599185 |KAREN E MOUNIER POOLER GA
243 5654763 |DOMINIC V VENICE MICHIGAN CITY IN
244 5687856 — |JOHN V PROCTOR VANCOUVER WA
245 5689912 — |VAHE M SHAKHGELDYAN SYLMAR CA
246 5693679  |JENNIFER L LESZCZYNSKI OCEANSIDE CA
247 5706861 |SU JUNG UM NEW YORK NY
248 5745479 = |TIMOTHY C MOLINA ABILENE TX
249 5765060  |CHRISTOPHER LAWSON DALLAS TX
250 5819684 = |MICHELLE R THOMPSON HAMMOND WI
251 5851614 —|NINAF. CASTILLO HIALEAH FL
252 5856659 |KAYLON GOMEZ DENHAM SPRINGS LA
253 5869190 |BOBBY G BUSH ELIZABETHTOWN KY
254 7292328 {VALERIE ADAMES RHOME TX
295 8005081. |MAGALI AMAYA CARROLLTON TX
256 8029855 |FLORA DEVOE BELLE CENTER OH
257 8038897 |MARY DEMERS WILLISTON PK NY
258 8042974 —|NANCY DAVIS MCMINNVILLE OR
259 8047706  |JUDY A DAYAN GREENWOOD IN
260 8047866 |MAYRAR ELSAFI FLAGSTAFF AZ
261 8060688 =| KENNETH INGRAHAM BRANSON MO
262 8079351  |JOHN P KRAMER AVON IL
263 8097452 |LUCY H QUINN ALGONQUIN IL
264 8130427 —|FRANCES R TUCKER SHERMAN TX
265 8194074 —|LISA M CAMP (SILVERIO) ASHLAND MA
266 8212824. |BRIAN C ENGLES N FALMOUTH MA
267 8222450 —|CLAIRE ROISE RALEIGH NC
268 8236970 |JASON C ENGEL FREDERICK MD
269 8249626 —|MARGARET GILMORE BROOKLINE MA
270 8267357  |LUCY TORRES ISABELA PR
2/1 8286905 |SHARIL KUCK THE VILLAGES FL
272 8292379 = |MICHAEL KELSEY ELIZABETHTOWN PA
273 8294318  JJANELLE E MAYNARD FORT ANN NY
274 8315838  |JESSICA L BENEDICT PITTSBURGH PA
279 8322945 {KARA E BURLINGAME ALTAMONT NY
276 8335504 LISA M SMITH HORNELL NY

 

 

 

 

 

 

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277 8364888  |SAMUELS FIERSTEIN FLUSHING NY
278 8383566 |BRIAN REDMOND PITTSBURGH PA
279 8383585 |EBENECIA TVUMBAAH SUWANEE GA
280 8391630 =|PAULB FITZSIMONS SAN ANSELMO CA
281 8411497 |KAYEL FRYE ROCHESTER HLS MI
282 8434272 —|KAILLY LMUTHARD NEW TRIPOLI PA
283 8484759 |LAWRENCE P KRICHTEN GETTYSBURG PA
284 8579815 |COREY SABA CHANTILLY VA
285 8587338 {CLYDE W CAMPBELL GERMANTOWN MD
286 8594715  |CATHY S DRIVER ALEXANDRIA VA
287 8635714 JULIE L ZIEGLER SUMMERVILLE sc
288 8645222  |KIMBERLY J NESBITT INMAN SC
289 8650611 |JADEN C CASKIE ANDERSON SC
250 8673870 |LEIGHE WISE MCDONOUGH GA
291 8686917 |LYDIA BATES JACKSONVILLE FL.
292 8695393  |KOREY P KELLER INDIANAPOLIS IN
293 8713199  |PATRICK J GALLAGHER ZANESVILLE OH
294 8721330 WJENNIFER D RICHARDS CALDWELL QOH
295 8740682 |BETFY J WILLIAMS LINCOLN IL
296 8758973 JESSICA L FRANKLIN SARAHSVILLE OH
297 8796431 | KIMBERLY A PURMANN LOMBARD IL
298 8851849 |GEORGE K QUINN ALGONQUIN IL
299 8855486 |MALLORIE HEJMEJ MARSHALL MG
300 8898402 |MARIBEL C ARANA SAINT CLOUD MIN
301 8926216 |SHAWNAM HINDERLITER GLENVIEW IL.
302 8926807 |RICHARD E CREGER TOLEDO OH
303 8930252 |BELINDA JACKSON FRISCO AL
304 8952762 |ADAMS TOOLEY NEWPORT AR
305 8965122 |SHARON R BREAUX LOUISVILLE KY
306 8978207 RAYMOND L MIDKIFF ARLINGTON TX
307 9022995 |SUE DYER KENNESAW GA
308 9024484 |DOROTHY A HAHN KNOXVILLE TN
309 9052113 = JESSIE L WILLIFORD BLUE MOUNTAIN MS
310 9064037 |JOHN H HOOD HOLLY BLUFF MSs
311 9075843 |DONNIE W FRANKLIN HOUSTON TX
312 9105723 JIAMES C KNIGHT III MONROE LA
313 9159049 = |MARY ANN PEREZ HOUSTON TX
314 9163614 |PAMELA R MCCLAIN OWENSVILLE MO
315 9173736 |WILLIAM H GIBSON ROSENBERG TX
316 9185158 |SEAN MMENNE SAINT PETERS MO
317 9211750 {MICHAEL L THOMASON HAPPY VALLEY OR
318 9216951 |ANNAM MOHLMAN RED CLOUD NE
319 9221514 |JEFFRY F GRANTHAM W DES MOINES IA
320 9230403 |MICHELE BRODEUR FENTON Mo
321 9236476 |HAILEYJ BRUSTUEN MADISON WI
322 9237213 |JACK BRODEUR FENTON MO
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323 9238037  |JOSH M BILL BELLE PLAINE MN
324 9238417 |STRACY GARIBAY WEST HAVEN UT

325 9238491  |LOUSENDA STILLMAN LAKEWOOD co

326 9244873 |ROGER E KELSEY WICHITA KS

327 9246090 |SANJEDA SULTANA CARY NC
328 9248804  |PAMELAJ MOELLER HOUSTON TX

329 9266953  |JANE M HAYDEN KIRKSVILLE MO
330 9288026 |KATEE KIRK SPOKANE WA
331 9304357  |LLANA N NAUGHTON AUBURN WA
332 9371094 |DIANE LKALLGREN RENTON WA
333 9374716 |MAGARET VANCLEAVE SANTA ANA CA
334 9375087 |CARLA 5S GILBERTSON CLAREMORE OK
335 9387942 |BIANA L WEATHERFORD CORVALLIS OR
336 9389916 (MELODY WILLIAMS MESA Ad

337 9405556 | WILLIAM B MARTIN-BLACK HONOLULU all

338 9424855 —|MARIANG MARCANO-VELAZQUZ SAN JUAN PR

339 9471887 |JARED LJONES ‘JUNEAU AK
340 9480584 |WALESKA RAMIREZ ACOSTA CABO ROJO PR

341 9484312  |ERIN E BAMBERY LOOMIS CA
342 9486161 = |VILMA1 RODRIGUEZ TOA BAJA PR

343 9497497  |AMETHYST STEVENSON SOUTHAVEN MSs
344 9521108 {OLGA GONZALEZ SAEZ COTO LAUREL PR
345 9523558  |KIM A MELLIES JACKSONVILLE FL.

346 9533749 JOY N SINSONGSERM LA MIRADA CA
347 9544112 |PHILLIP B ROSE SAN JOSE CA
348 9545785 —|PHILLIP CARTER SAVOY TX
349 9559204 |AMYLCOOPER RIVERDALE MD
350 9605914 |DANIELLE N ROBELLO CHULA VISTA CA
351 9611084 |RYAN A BOWLING PRESCOTT VALLEY Ad
352 9615700 |ANAMARIA M CRUZ COLORADO SPGS co
353 9617189 =| CANDICE ¥ SCHENCK ST PETERSBURG FL

354 9691746 |AMBER N BEYE HESPERUS co
355 9700154 |KLARA GAL N. HOLLYWOOD CA
356 9700488 |ROYA LOTFI ROCHESTER HLS MI
357 10020505 |RENITA WILLIAMS NEWPORT NEWS VA
358 10024324 |ANASTASIYA PETROVA PORTLAND OR
359 30055572 |ADRIA LORMIS TUSTIN CA
360 30138649 |DAVID ALDRIDGE JR MIAMI GARDENS FL.
361 30147482 | DENNIS CLAYBROOK TUCSON AZ
362 30189431 |SUSAN BLAKEYOLAND NAPA CA
363 30241461 |REBECCAS DRULLINGER WENT2VILLE MO
364 30283395 (MENDEZ MARTINEZ ANA CAROLINA PR
365 30298014 |ANDREW W SMITH JOHNSON CITY TN
366 30298072 |FAWN PHAM LA MESA CA
367 30309656 |DINO DRUDI ALEXANDRIA VA
368 30436175 |SARAH HELFRICH WESTMINSTER CA

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369 30522715 |EDWARD MATHIESON RENTON WA
370 30529810 | LINDA WILSON SUTTONS BAY Mil
371 30539520 [KATHLEEN L HOESING CONCORD NE
372 30541418 [JEAN E DITCH MOUNT MORRIS MI
373 30546426 =| TINA M COPE PADUCAH KY
374 30552152 JJEROME L GALVAN DALLAS TX
375 30569537 [KATRINA SANTOS HOMESTEAD FL
376 30640411 |DANNY YARBROUGH MABELVALE AR
3/7 30641400 |MARGIE TYLER HOT SPRINGS NATIONAL PARK AR
378 30660380 |CLARE WELCH BRANCH #1 NV
379 30660984 |MARKJPECOR | TINLEY PARK IL
380 30665701 | KATHLEEN L WARN DARIEN WI
381 30671941 JOTHNIEL MCDOWELL MIAMI GARDENS FL
382 30706160 |SHERRY FOX BUCKLEY WA
383 30802747 |ERIC ROBERTS BREMERTON WA
384 30819559 |ANGIE WILSON TULSA OK
385 30880949 {LORINE PALMERO FOLSOM CA
386 30936437 |RAMON CARRERA HOUSTON TX
387 30947021 |JOHN K MCFARLIN III TULSA OK
388 30994755 |DANIEL HILL NEWPORT NEWS VA
389 31104964 |COSIMA COLVIN SAN ANTONIO TX
390 31165470 [MARY A FRONCE MOUNT VERNON OH
391 31167348 |FLORA E ROBERTSON BUTLER PA
392 31248799 |JAMES JARRARD GREENSBORO GA
393 31254844 [PETER WYATT NEWBURYPORT MA
394. 31256846 |ANGELA MICK NORTH LAS VEGAS NV
395 31287103 |CHARLES NICHOLS CHOCTAW OK

 

 

 

 

 

 

 

 

 

 

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